Case 6:16-cv-00970-RBD-TBS Document 55 Filed 12/13/17 Page 1 of 1 PageID 646



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

         Plaintiffs,

   v.                                                 Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

         Defendants.


                                           ORDER

         The Unopposed Motion for Extension of Time to Respond to Defendants’ Motion to

   Dismiss (Doc. 54), is GRANTED. Relator Barbara Bernier has through December 22,

   2017 to respond to Defendants’ motion to dismiss the amended complaint.

         DONE and ORDERED in Orlando, Florida on December 13, 2017.




   Copies furnished to Counsel of Record
